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                        IN THE UNITED STATES DISTRICT COURT
                          FOR CENTRAL DISTRICT OF ILLINOIS

DAVID KNOTT, et al.,                            )
                                                )
                Plaintiffs,                     )
                                                )
        -vs-                                    )      No. 24-cv-03067-CRL-KLM
                                                )
MICHAEL W. FRERICHS, in his official            )
capacity as Illinois State Treasurer, et al.,   )
                                                )
                Defendants.                     )

    MOTION FOR AN EXTENSION OF TIME TO FILE RESPONSIVE PLEADING

        NOW COME the Defendants, MICHAEL FRERICHS, MARIO TRETO, EDWARD

BONIFAS, ANTHONY CALDERONE, DEAN GLUTH, ANNE GRUBER, TONY MAJKA,

DAVID PACK, SCOTT PENNY, JAMES TAFF, AMY LIPKIS, MARGARET DALEY, and

CORTNEY WASCHER, by and through their attorney, Kwame Raoul, Attorney General of the

State of Illinois, and pursuant to Federal Rule of Civil Procedure 6(b)(1)(A), hereby request an

extension of time of thirty (30) days, up to and including May 8, 2024, to file their response to

Plaintiff’s Complaint [Doc. 1], stating as follows:

        1.      Plaintiff, David Knott, filed his complaint on March 14, 2024. [Doc. 1].

        2.      Defendants’ response to Plaintiff’s Complaint is due April 8, 2024.

        3.      Counsel filed her appearance on behalf of Defendants on March 21, 2024. [Doc. 6].

        4.      However, due to her recent entrance, undersigned counsel requests more time to

speak to her clients and obtain documents necessary to complete Defendants’ responsive pleading.

        5.      Accordingly, Defendants respectfully request a thirty (30) day extension of time,

up to and including May 8, 2024, to file a response to Plaintiff’s Complaint.

        6.      This request is made in good faith and not for the purpose of undue delay.




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        7.      Plaintiff will not be prejudiced by this request, as there are currently no other

pending deadlines in this matter.

        8.      Prior to filing this motion, undersigned counsel contacted counsel for Plaintiff to

obtain their position as to this request.

        9.      Plaintiff’s counsel does not object to the requested extension.

        WHEREFORE, Defendants request an extension of time of thirty (30) days, up to and

including May 8, 2024, to file their responsive pleading.

                                                      Respectfully submitted,

                                                      MICHAEL FRERICHS, MARIO TRETO,
                                                      EDWARD     BONIFAS,   ANTHONY
                                                      CALDERONE, DEAN GLUTH, ANNE
                                                      GRUBER, TONY MAJKA, DAVID PACK,
                                                      SCOTT PENNY, JAMES TAFF, AMY
                                                      LIPKIS, MARGARET DALEY, and
                                                      CORTNEY WASCHER,

                                                              Defendants,
Megan Ditzler, #6318052
Assistant Attorney General                            KWAME RAOUL, Attorney General,
500 South Second Street                               State of Illinois,
Springfield, IL 62701
(217) 557-7081 Phone                                          Attorney for Defendants,
(217) 782-8767 Fax
Email: megan.ditzler@ilag.gov                         By: s/ Megan Ditzler
& gls@ilag.gov                                        Megan Ditzler, #6318052
                                                      Assistant Attorney General




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                        IN THE UNITED STATES DISTRICT COURT
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DAVID KNOTT, et al.,                            )
                                                )
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                                                )
        -vs-                                    )      No. 24-cv-03067-CRL-KLM
                                                )
MICHAEL W. FRERICHS, in his official            )
capacity as Illinois State Treasurer, et al.,   )
                                                )
                Defendants.                     )

                                  CERTIFICATE OF SERVICE

        I hereby certify that on April 3, 2024, the foregoing document, Motion for an Extension
of Time to File a Responsive Pleading, was electronically filed with the Clerk of the Court using
the CM/ECF system which will send notification of such filing to the following:

                                 Robert Johnson – rjohnson@ij.org
                                James T. Knight, II – jknight@ij.org

and I hereby certify that on the same date, I caused a copy of same to be mailed by United States
Postal Service, in an envelope fully prepaid and properly addressed, to the following participant:

                                                None


                                                       Respectfully submitted,


                                                          s/ Megan Ditzler
                                                       Megan Ditzler, #6318052
                                                       Assistant Attorney General
                                                       500 South Second Street
                                                       Springfield, Illinois 62701
                                                       (217) 557-7081 Phone
                                                       (217) 524-5091 Fax
                                                       megan.ditzler@ilag.gov
                                                       gls@ilag.gov




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